CaSe:lZ-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 Pagel Of 26

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OFCOLORADO

In re:
Polanco v. Roth

Bankruptcy Case 11-34121-MER
No.: Chapter 7

Adversary No.: 12-0101 O-MER
Plaintiff
v.

Joseph A. Roth

)
)
)
)
)
Tasheena Polanco )
)
)
)
)
)
Defendant )

 

DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

' ,T:':)
'f. f 3 ,.

Defendant, Joseph Roth, moves the Court to enter summary judgment in Defeiiaéiht’s§

§§
favor dismissing Plaintifrs compwim.l

 

392

 

“'; ,-~

Undis uted Facts 5ss ;;

rs x

..
9

l. The complaint lists several allegations regarding Joseph Roth’s (hereinafter§fl§oth §§
conduct and comments directed to Tasheena Polanco during her employment at Roth

Auto. Mr. Roth has submitted an affidavit addressing those allegations See Affidavit of

Joseph A. Roth, attached hereto as Exh. A.

2. The complaint generically alleges “injury” and “ arm” Without any detail as to the

type of injury or harm (e.g., physical, mental or emotional). See Doc. l, Complaint 11 11
32-34.

 

1 CERTIFICATION: Prior to filing this motion, Defendant has conferred with Plaintift’s counsel regarding this
motion. Plaintiff objects to this motion,

 

 

CaSe:lZ-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 PageZ Of 26

3. Ms. Polanco, in response to interrogatories, states:

Ms. Polanco has sustained severe emotional distress as a
result of the physical conduct from Mr. Roth and his
constant sexual harassment She has developed significant
anxiety and a fear of persons of authority since the time of
her employment at Roth’s Auto. ln particular, Ms. Polanco
has become very nervous and uncomfortable When
interacting with unfamiliar males. This condition has
contributed to Ms. Polanco’s inability to secure
employment subsequent to her termination from Roth’s
Auto. Ms. Polanco has experienced, and continues to
experience, fear, anxiousness, sadness, and hurt as a result
of Mr. Roth’s unlawful actions. Ms. Polanco still gets
upset and cries when she thinks about the horrible
experience she endured while employed by the Defendant.

See Plaintiff’ s Responses to Defendant’s First Set of Interrogatories, Exh.
B 119.

4. Despite the alleged severity of her emotional distress, Ms. Polanco has
not seen any medical providers (psychologists, psychiatrists or counselors)
and has not received or taken any medication for her alleged distress Id.

1111, 12.

6. Nonetheless, Roth’s words and conduct were not intended to injure Ms. Polanco. ln
other Words, Roth did not have an actual intent to injure Ms. Polanco under any

circumstances See Exh. A, Atiidavit of Joseph A. Roth, ‘|l 10.

7. Prior to the employment of Ms. Polanco, Roth had never met Ms. Polanco (i.e, they

never had a personal relationship). Id, 11 8.

8. Prior to and during the course of Ms. Polanco’s employment, Roth did not have any

dislike of or animus toward Ms. Polanco. Id, 11 9.

 

CaSe:12-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 PageS Of 26

9. Furthermore, Roth did not desire to injure or harm Ms. Polanco nor did he believe
that any injury to Ms. Polanco was substantially certain to result from his acts or

comments Id, 1[ ll.

Agg\_lment

I. Standard of Review.

Summary judgment is appropriate "if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the aflidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is entitled to a judgment as a
matter of law." Fed. R. Civ. P. 56(c). When applying this standard, the court views the evidence
and draws reasonable inferences therefrom in the light most favorable to the nonmoving party.
See Byers v. Cin of Albuquerque 150 F.3d 1271, 1274 (lOth Cir. 1998).

Although the movant must show the absence of a genuine issue of material fact,
he or she need not negate the nonmovant's claim. See, e.g., Jenkins v. Wood, 81 F.3d 988, 990
(lOth Cir. 1996). Once the movant carries this burden, the nonmovant cannot rest upon his or her
pleadings, but "must bring forward specific facts showing a genuine issue for trial as to those
dispositive matters for which [he or she] carries the burden of proof." Id. "The mere existence of
a scintilla of evidence in support of the nonmovant's position is insufiicient to create a dispute of
fact that is 'genuine'; an issue of material fact is genuine only if the nonmovant presents facts
such that a reasonable jury could find in favor of the nonmovant." Lawmaster v. Ward, 125 F.3d
1341, 1347 (lOth Cir. 1997). If there is no genuine issue of material fact in dispute, the court

determines whether, as a matter of the substantive law, the movant is entitled to summary

judgment See Kaul v. Stephan, 83 F.3d 1208, 1212 (lOth Cir. 1996). As demonstrated below,

 

CaSe:12-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 Page4 Of 26

the undisputed fact of Mr. Roth’s lack of any intent to injure Ms. Polanco requires summary

judgment in his favor.

II. Polanco Cannot Establish the § 523(a)(6) Elements.

11 U.S.C. § 523(a)(6) provides that "[a] discharge under...this title...does not discharge
an individual debtor nom any debt for willful and malicious injury by the debtor to another entity
or to the property of another entity." (emphasis added). In connection with her claim that Roth’s
debt (i.e., her sexual harassment claim) is not dischargeable, Ms Polanco has the burden of
establishing the willful and malicious elements of § 523(a)(6) by a preponderance of the
evidence. See, e.g., Grogan v. Garner, 498 U.S. 279, 291 (1991)(“[w]e hold that the standard of`
proof for the dischargeability exceptions in ll U. S. C. § 523(a) is the ordinary preponderance-
of-the-evidence-standard”).2 Here, as to the first element (willliil), the key evidentiary issue is
whether Mr. Roth had the subjective intent to injure Ms Polanco. See, e.g., Kawaauhau v.
Geiger, 523 U.S. 57, 61-62 (1998). ln Geiger, the Court emphasized the intent element of ll
U.S.C. § 523(a)(6), stating:

Does § 523(a)(6)'s compass cover acts, done
intentionally, 1 that cause injury (as the Kawaauhaus urge), or
only acts done with the actual intent to cause injury (as the
Eighth Circuit ruled)?

The words of` the statute strongly support the Eighth
Circuit's reading. The word "willf`u " in (a)(6) modifies the word
"injury," indicating that nondischargeability takes a deliberate or
intentional injury, not merely a deliberate or intentional act that
leads to injury. Had Congress meant to exempt debts resulting
from unintentionally inflicted injuries, it might have described
instead "willf`ul acts that cause injury." Or, Congress might have
selected an additional word or words, i.e., "reckless" or
"negligent," to modify "injury." Moreover, as the Eighth Circuit

 

2 "In determining whether a particular debt falls within one of the exceptions of section 523, the statute should be
strictly construed against the objecting creditor and liberally in favor of the debtor." COLLIER ON BANKRUPTCY
P 523.05 at 523-20 (15th ed. rev. 2003).

 

 

 

CaSe:12-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 PageB Of 26

observed, the (a)(6) formulation triggers in the lawyer's mind the
category "intentional torts," as distinguished from negligent or
reckless torts. Intentional torts generally require that the actor
intend "the consequences of an act," not simply "the act itself."
Restatement (Second) of Torts 8 SA, comment a, p. 15 (1964)
(emphasis added).

521 U.S. at 61-62.

Here, assuming, arguendo, that Mr. Roth may have engaged in unprofessional conduct
(sexual bantering or horseplay)3 that alone is insufficient to come within the purview of §
523(a)(6), i.e., Defendant did not intend to injure Plaintiff. See Affidavit of Joseph Roth, Exh. A
1111 9-11. As to whether intent is measured on an objective or subjective basis, the Tenth Circuit,
following Geiger, has adopted the subjective standard See, e.g.,Via Christi Reg'l Med. Ctr. v.
Englehart, 2000 U.S. App. LEXIS 22754 (lOth. Cir. 2008) (“In sum, the "Willful and malicious
injury" exception to dischargeability in § 523(a)(6) turns on the state of mind of the debtor, who
must have wished to cause injury or at least believed it was substantially certain to occur. When
injury was "neither desired nor in fact anticipated by the debtor," it is outside the scope of the
statute. Geiger, 523 U.S. at 62”); see also Panalis v. Moore (In re Moore), 357 F.3d 1125, 1129-
30 (lOth Cir. 2004)( “[T]he Code makes inescapable the principle that unless a debt is the result
of a willful and malicious act intended to do injury to a person, the debt is discharged Having
failed to prove, either in the Colorado court or in the Bankruptcy court, that Mr. Moore willfully
and maliciously intended to cause his physical injury, Mr. Panalis was not entitled to an
exception from discharge”). The import of the Geiger line of cases is that Ms. Polanco must

now come forth with preponderant evidence that Mr. Roth intended to injure her or believed that

 

3 Title VII is not a general “civility code.” Faragher v. Cily of Boca Raton, 524 U.S. 775, 788 (1998). A violation
is not established merely by evidence showing "sporadic use of abusive language, gender-related jokes, and
occasional teasing."ld,' see also, Oncale v. Sundowner @_%'hore Servs. Inc., 523 U.S. 75, 82 (l998)(distinguishing
“simple teasin ” from conduct which creates a hostile work environment); Candelore v. Clark County Sanitation
District, 975 F.2d 588, 590 (9th Cir. 1992)(“Isolated incidents of sexual horseplay” did not create a hostile work
environment).

 

 

CaSe:12-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 Page6 Of 26

his acts or comments were substantially certain to injure her. See, e.g. Sanger v. Busch, 311 B.R.
657 (Bktcy. N.D N.Y.)(following Geiger: sexual harassment is not an intentional tort sufficient
to operate as a basis for nondischargeability under § 523 (a)(6)).

In Sanger, the plaintiff, Jacqueline Sanger, secured a $430,233 District Court Title VII
judgment against the debtor, David Busch. Busch filed a Ch. 7 petition and listed the Sanger
judgment lien on Schedule D (Creditors Holding Secured Claims). In turn, Sanger filed an
adversary proceeding (complaint) challenging the dischargeability of the debt under § 523(a)(6).
In ruling against Sanger, as a preliminary matter, the bankruptcy court summarized the
underlying circumstances, stating:

Plaintiff testified during inquest that the Debtor committed routine
acts of sexual harassment, including: repeated attempts to kiss her
(Plaintiff‘s Exhibit 2 at 19) [hereinafter the "Transcript"]; putting his hand
around her waist and trying to kiss and touch her (Id. at 22); attempting to
put his hands underneath her shirt; joking about getting an apartment
where they could "fool around" (Id. at 23); unzipping his pants and
exposing his genitals; directing her to write a letter advising a client of the
corporation's policy against sexual harassment, after which he stated, "oh,
well, if they only knew"; exposing and touching his genitalia to her arm on
two occasions (Id. at 22, 27); and insinuating that he would give her petty
cash and provide an apartment for her if she accepted his sexual advances
(Id. at 29). The Plaintiff stated that she became pregnant while employed
by AASI and, after notifying the Debtor of her conditions his conduct
worsened. The Plaintiff further testified that the Debtor's conduct caused
her to suffer the following harm: she required counseling on four to six
occasions; unemployment benefits were unavailable because she
voluntarily resigned (Id. at 30); her medical insurance lapsed; she lost
retirement benefits; she experienced difficulty finding other employment
because she feared placement in a similar work environment (Id. at 32);
and she was afraid to go outside her house at night because she feared that
the Debtor was "going to try and kill [her]" (Id.). Finally, the Plaintiff
testified that she was also sexually harassed by her male co-workers,
whose conduct was known to the Debtor, yet the Debtor and AASI took
no disciplinary action to remedy the hostile work environment

311 B.R. at 660-61.

 

CaSe:12-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 Page? Of 26

In distinguishing between the gravity of the conduct and Debtor’s intent, the bankruptcy court
stated:

There is no question about the deplorable nature of the conduct for which
the Debtor was held liable in the District Court; yet, the first part of the
test for nondischargeability under § 523(a)(6) is not the gravity of
misconduct, but intent to cause injury.[citation omitted ]The Plaintiff must
satisfy the first statutory prong by proving that the Debtor deliberately and
intentionally caused the injuries that she recounted in the District Court
Action. Because of the nature of sexual harassment, the Plaintiff‘s showing
under Geiger is far more diffith than that under Stelluti. See Joanne
Gelf`and, Esq., The Trealment of Employment Discrimination Claims in
Bankruptcy.' Priorily Status, Stay Relief Dischargeabilily, and
Exemptions, 56 U. Miarni L. Rev. 601, 636-37 (2001)(Employers
engaging in quid pro quo or hostile environment harassment may
appreciate that their conduct could cause lost job opportunities or create a
sexually charged atmosphere, but they may [**34] never intend to cause
non-job related, psychological or physical injuries such as depression,
nausea, sleeplessness, emotional distress or loss of consortium.).
Although sexual harassment under Title VII presupposes intentional
conduct in the form of unwelcome sexual conduct, it does not require that

the employer intend to injure the plaintiff Id. at 635.
* * #

Within this framework, the court turns its attention to whether the Plaintiff`
has shown that the Debtor intended to cause her psychological and
economic harm. Even if the acts of` sexual harassment occurred exactly as
alleged, nothing in the District Court Action or in this proceeding
convinces the court that the Debtor intended to do so. There is no evidence
that the Debtor ever intended to cause any of the injuries recounted by the
Plainlijfin the District CourtAction.

311 B.R. at 669-70. (emphasis added).

Here, there is no evidence that Roth intended to injure Ms. Polanco or that he believed that any

injury to Ms. Polanco was substantially certain to result from his acts or comments

 

 

CaSe:12-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 Page$ Of 26

Conclusion

Accordingly, and for all of the foregoing reasons, Plaintiff’ s complaint should be

dismissed.

Respectfully,

/llM//

juanita J. solem iz§’q., #7646
vAttorney for ef ndant

12000 N. W ` gton St. Ste 310
Thornton, CO 80241
Email:solanolaw@earthlink.net
Phone: (303) 457-2000

 

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing DEFENDANT’S MOTION FOR
SUMMARY JUDGMENT was served via the USPS, postage prepaid to the following address
this 23rd day ofAugust, 2012.

Traylor Law Group
Whitney C. Traylor
1721 High St.
Denver CO 80218

Original Hand Delivered on August 23, 2012 to:
The Clerk of the United States Bankruptcy Court

For the District of Colorado l /
72119“‘st. " // §§
Denver, CO 80202 / M .

 

1'2066 N. was ' on st ste 310
'I'homton, CO 0 41

CaSe:12-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 PageQ Of 26

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

Joseph A. Roth
Defendant

In re: )
Polanco v. Roth )
) Bankruptcy Case l 1-34121-MER
) No.: Chapter 7
) Adversary No.: 12-01010-MER
Tasheena Polanco )
Plaintiff )
)
v. )
)
)
)

 

AFFIDAVIT OF JOSEPH A. ROTH

 

Joseph A.Roth, being duly sworn, states:

 

l. I am the defendant in the above captioned matter.

2. I have reviewed the allegations in the plaintiff s complaint and have filed an answer to

the complaint. The answer is incorporated herein by reference

3. The complaint lists several allegations regarding my conduct and comments directed to

Tasheena Polanco during her employment at my business

4. However, the complaint does not identify any injury that was caused by any statement
or any act of mine. All the complaint does is to generically allege “injury” and “harm”

without any detail as to the type of injury or harm (e.g., physical, mental or emotional).

See Doc. 1, Complaint 11 11 32-34.

 

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 PagelOOf 26

5. However, l have reviewed Ms. Polanco’s recent responses to interrogatories wherein

she states:

Ms. Polanco has sustained severe emotional distress as a
result of the physical conduct from Mr.Roth and his
constant sexual harassment She has developed significant
anxiety and a fear of` persons of authority since the time of
her employment at Roth’s Auto. In particular, Ms. Polanco
has become very nervous and uncomfortable when
interacting with unfamiliar males This condition has
contributed to Ms. Polanco’s inability to secure
employment subsequent to her termination from Roth’s
Auto. Ms. Polanco has experienced, and continues to
experience, fear, anxiousness., sadness, and hurt as a result
of Mr. Roth’s unlawful actions Ms. Polanco still gets
upset and cries when she thinks about the horrible
experience she endured while employed by the Defendant

7. At no time during the course of her employment (May -June) did Ms. Polanco
complain of any mental or emotional distress or complain about the conditions of her

employment

8. Prior to her employment I had never met Ms. Polanco.

9. During the course of Ms. Polanco’s employment, l did not have any dislike of or

animus toward Ms. Polanco.

10. During Ms. Polanco’ s employment my words and conduct were not intended to
injure Ms. Polanco. ln other words, I did not have an actual intent to injure Ms. Polanco

under any circumstances

11. Furthermore, l did not desire to injure or harm Ms. Polanco nor did I believe that any

injury to Ms. Polanco was substantially certain to result from any of acts or comments

directed toward her.

 

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Pagell Of 26

12. My decision to terminate Ms. Polanco Was based on her inability to handle the
necessary computer and clerical tasks connected to the U-Haul rental part of my auto

repair business

Dated this 23 day of August, 2012.

Respectfully,

dla/nas

Joe phA. URoth

STATE OF COLORADO )
)ss
COUNTY OF ADAMS )

Subscribed and sworn to before me in the county of Adams, State of Colorado, this 23nd
day of August, 2012 by Joseph A. Roth.

     
    

“7<///'/}/ rt/ W//M%/L/J

KAREN MARQuEz N°“lry P“bli°
Notary Pubuc Address:
State of Co|orado 12000 N. Washington St., Ste 310

. Thornton, CO 80241
My Commlssion Expires:

 

CaSeil2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Pagel2 Of 26

UNITED STATES BANKRUPTCY COURT

 

 

DISTRICT OF COLORADO
In re: )
) Case No. 11-34121-MER
ROTH, JOSEPH ANTHONY ) ,
ElN/S SN: xxx-xx-3 705 ) Chapter 7
, ) `
Debtor(s) )
)
TASHEENA POLANCO, )
)
Plaintiff, )
)
v. )
)
JOSEPH ANTHONY ROTH, )
)
Defendant )
)

 

 

 

Plaintiff Tasheena Polanco (“Plaintiff” or “Polanco”), pursuant to FED. R. BANKR. P. 26,
33`, 34, and 3 6, hereby respo'nds, and by and through her attorneys the Traylor Law Group, LLC,
objects, to Defendant’s First Set of lnterrogatories (“Defendant’s Discovery”) as follows:

GENERAL OBJECTIONS

1. Ms. Polanco objects to each and every discovery request to the extent that it seeks
information protected by the attorney-client privilege or the work productdoctrine. 4Such
information shall not be provided in response to these discovery requests, and any inadvertent
disclosure thereof shall not be deemed a waiver of any privilege or protection with respect to

such information

 

 

 

Case:lZ-OlOlO-I\/|ER Doc#:33 Fi|_ed:08/23/12 n Entered:08/24/12 09:20:25 PagelS of 26

2. l\/Is. Polanco objects to these discovery requests to the extent that they seek
information that is neither relevant to the subject matter involved in this litigation, nor
reasonably calculated to lead to the discovery of admissible evidence

3. Ms. Polanco objects to these discovery requests to the extent that they are overly
burdensome and oppressive, vague and ambiguous overly broad, annoying, or harassing

4. ll Ms. Polanco objects to these discovery requests to the extent'that the information
requested has already been provided, or is otherwise already within the possession, custody, or
control of Defendant

5. Ms. Polanco objects to these discovery requests to the extent that they seek
information that is not within her possession, custody or control. Ms. Polanco also objects to
these discovery requests including the instructions and definitions to the extent that they can be
construed to impose obligations upon her that are beyond the scope of the Federal Rules of
Bankruptcy Procedure or the Federal Rules of Civil Procedure.

4 INTERROGATORIES
Interrogato§y No. 1: State the name, ADDRESS, telephone number, and relationship to
l you of each PERSON who prepared or assisted in the preparation of the responses to these
interrogatories (190 not identify anyone who simply typed or reproduced the responses.)'

Response: None, other than Ms. Polanco and the undersigned counsel.

Interrogatory No. 2: State:

(a) your name;

(b) every name you have used in the past;

(c) the dates you used each name.

Response: Tasheena Polanco. Ms. Polanco has not used any other name in the past

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Pagel40f 26

Interrogatog No. 3: State the date and place of your birth.

Response: February 6, 1983; Denver, Colorado.

Interrogatory No. 4: State:

(a)

your present residence ADDRESS;

(b) your residence ADDRESSES for the last five years;

(c) the dates you lived at each ADDRESS.

Response:

l. 11817 Maiden Way, Northglenn, C0 80233; December 2010 - Present

2. 3060 Leyden Blvd, Denver, C0 80207; September 2010 - December 2010

3. 3240 W.` Ada Place, Denver, C0-80219; June 2010 - September 2010

4. 1302 Milwaukee St., Apt. 4, Denver, CO 80206; February 2010 - June 2010

5. 1724 E. 36th Ave.l Denver, CO 80205; July_2009 - February 2010

6. v 11817 Maiden way, Northglenn, Co 80233; December 2008 _ Jtily 2009

7. 55 N. Kuner Rd., Apt. 205, Brighton, CO 80601; March 2006 - December 2008

Interrogato;'y No. 5: State:

(a)

(b)

the name, ADDRESS , and telephone number of your present employer or place
of self-employment

the name, ADDRESS , dates of employment job title, and nature of work for each
employer or self-employment you have had from five years before the

INCIDENT until today.

Response: Objection. Defendant’s request is unclear because its definition of “Incident”

is vague. Multiple “incident(s)” have been alleged in this matter, and it is unclear which one

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 PagelB Of 26

Defendant refers to in this instance Notwithstanding, and without waiving this obj ectioni
Plaintiff states as follows: (a) Ms. Polanco is currently unemployed

(b) Roth’s Auto, 1690 East 112th Ave., Northglenn, CO 80233; U-Haul
Representative; May 2009 to June 2009. n

IHOP, 962 S. 4th Avenue, Brighton, CO 8060`1; Server/Night Supervisor; October 2006
to August 2008.

Interrogator_'y No. 6: State:

(a) the name and ADDRESS of each school or other academic or vocational

institution you have attended beginning with high school;

(b) the dates you attended;

(c) the highest grade level you have completed;

(d) the degrees received.

Response:

l. Thornton High School; 9351 Washington St., Thornton, CO 80229; August 1997
to June 2001; graduated June 2001.

2. Metropolitan State College of Denver; 120l 5th Street #9, Denver, CO 80204;
January 2010 - April 2010; no degrees,re\ceived. l

Interrogatol_'y No. 7 : Have you ever been convicted of a felony? l'f so, for each
conviction state:

(a) the city and state where you Were convicted;

(b) the date of conviction;

_(c) the offense;

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Pagel6 Of 26

(d) the court and case number and name and ADRESS of your probation officer, if

any.

Response: Yes.

(a) Brighton, CO;

(b) August 2004;

(c) Possession of a Schedule ll Controlled Substance;

(d) Brighton Municipal Court (Ms. Polanco does not know the case number).

Interrog4 atory No. 8: Do you attribute any physical, mental, or emotional injuries to the
INCIDENT?

Response: Objection. Defendant’s request is unclear because its definition of “lncident”
is vague Multiple “incident(S)"’ have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Notwithstanding, and without waiving this obj ection,
Plaintiff states as follows:Yes.

Interrogato§y No. 9: lf so, identify each injury you attribute to the INCIDENT and the
area of your body affected

,Response: Objection. Defendant’s request is unclear because its definition of “Incident”
is vague l\/lultiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Plaintiff further objects on the grounds that she has no
medical training, and therefore is unqualified to assess the exact nature of each injury she has
suffered as a result of her employment and unlawful termination from Roth’s Auto. The exact
nature and extent of Ms. Polanco’s “injuries” is an issue to be determined at trial.

Notwithstanding, and without waiving the foregoing objections Plaintiff states as follows: Ms.

s Polanco has sustained severe emotional distress as a result of the physical conduct from Mr. Roth

 

vCaSe:f|_2-Of|_O.f|_O-I\/|ER DO_C#233 Filed208/23/12 Entered208/24/12 09220225 Pagel? Of 26

and his constant sexual harassment She has developed significant anxiety and a fear of persons
of authority since the time of her employment at Roth’s Auto;' ln particular, Ms. Polanco has
become very nervous and uncomfortable when interacting With unfamiliar males This condition
has contributed to Ms. Polanco’s inability to secure employment subsequent to her termination
from Roth’s Auto. Ms. Polanco has experienced and continues to experience, fear, anxiousness,
sadness, and hurt as a result of Mr. Roth’s unlawful actions Ms. Polanco still gets upset and
cries when she thinks about the horrible experience she endured while employed by the
Defendant

Interrogato[y No. 10: Do you still have any complaints that you attribute to the

j INCIDENT? lf so, for each complaint state:

(a) a description; '

(b) Whether the complaint is subsiding, remaining the same, or becoming Worse;

(c) the frequency and duration

Response: Objection. Defendant’s request is unclear because its definition of “Incident”
is vague `l\/Iultiple “incident(s)” have been alleged in this matter, and it is unclear which one

` Defendant refers to in this instance Plaintiff further objects on the basis that this lnterrogatory is

vague and ambiguous to the extent the term “complaints” is undefined Notwithstanding, and
without waiving the foregoing objections the persisting mental and emotional damages which
Ms. Polanco attributes to l\_/lr. Roth’s conduct are identified in her response to lnterrogatory No.
9.

Interrogato;'y No. 11: Did you receive any consultation or examination or treatment

from a HEALTH CARE PROVIDER for any injury you attribute to the INCIDENT? lf so, for

» 1 each HEALTH CARE PROVIDER state:

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Pagel$ Of 26

(a) l , the name, ADDRESS , aan telephone number;

(b) the type of consultations examination, or treatment provided;

(c) the dates you recerved consultation, examination, or treatment

(d) the charges to date

Response: Objection. Defendant’s request is unclear because its definition of “Incident”
is vague Multiple “incident(s)” have been_alleged in this matter, and it is unclear which one
Defendant refers to in this instance Notwithstanding, and without waiving this obj ection,
Plaintiff states as followsijfi\lo.' Ms. Polanco was unable to afford treatment

Interrogato§y No. 12: Have you taken any medication, prescribed or not as a result of
injuries that you attribute to the lNClDENT? lf so, for each medication state:

(a) the name;

(b) the PERSON Who prescribed or furnished it;

(c) the date prescribed or furnished;

(d) the dates you began and stopped taking it;

(e) the cost to date f

Response: Objection. Defendant’s request is unclear because its definition of “lncident”
is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Notwithstanding, and without waiving this objection,
Plaintiff states as follow$: No.

Interrogator_‘y No. 132 Are there any other medical services not previously listed (for
example, ambulance, nursing, prosthetics, psychiatric or psychological)? lf so, for each service

state:

(a) the nature;

 

 

CaSe:l2-OlOlO-I\/|ER DOC#233 Filed4208/23/12 `Entere'd208/24/l2 09220225 PagelQ Of 26

(b) the date;

(c) the cost;l

(d) the name, ADDRESS , and telephone number of each provider.

Response: Objection. This lnterrogatory is vague and ambiguous to the extent the term
“medical services” is undefined and the Interrogatory` is an incomplete as phrased

Interrogator'y No. 14: Has any HEALTH CARE PROVIDER advised that you may
require future or additional treatment for any injuries that you attribute to the fNClDENT? lf so,
for each injury State:

(a) the name and ADDRE_SS of each HEALTH CARE PR()VIDER;v

v (b) the complaints for which the treatment was advised;

(c) the nature, duration, and estimated cost of the treatment

Response: Objection. Defendant’s requestisunclear because its definition of “lncident”
is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Plaintiff further objects on the basis that this lnterrogatory
seeks information protected by the physician-patient privilege Notwithstanding, and without
waiving the foregoing objections Plaintiff responds as follows No.

Interrogator_‘y No. 15: Do you attribute any loss of income or earning capacity to the
lNClDENT? If so, state:

(a) the nature of your work;

‘ (b) your job title at the time of the INCIDENT;
(c) the date your employment began.

Response: Objection. Defendant’s request is unclear because its definition of “Incident”

is vague Multiple “incident(s)” have been alleged in thismatter, and it is unclear which one

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Page200f 26

Defendant refers to in this instance Plaintiff further objects on the grounds that this lnterrogatory
is not reasonably calculated to lead to the discovery of admissible evidence The amount of Ms.
Polanco’s economic damages is not relevant to the legal issues in this action ln addition, this
lnterrogatory requests information that is already within the possession custody or control of
Defendant ln addition, this lnterrogatory is vague and ambiguous to the extent the phrase n
“nature of your work” is undefined Notwithstanding, and without waiving the foregoing
objections Ms. Polanco has suffered lost income as a result of the lncident.

(a) Ms. Polanco was an employee of Roth’s Auto. Her duties included cleaning the
shop, and assisting customers in renting U-Haul trucks
(b) Shop Cleaner and U-Haul Representative.
(c) May 12, 2009.

Interrog-atom No. 16: State the last date before the INCIDENT that you Worked for
compensation

Response: Objection. Defendant’s request is unclear because its definition of “Incident”
is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Plaintiff further objectson the ground that this lnterrogatory
is not reasonably calculated to lead to the discovery of admissible evidence The amount of Ms.
Polanco’s economic damages is not relevant to the legal issues in this action

lnterrogatory No. 1'7: State your monthly income at the time of the INCIDENT and
how the amount was calculated

Response: Obj ection Defendant’s request is unclear because its definition of “Incident”
is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one

Defendant refers to in this instance Plaintiff further objects on the ground that this lnterrogatory

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Ent€r€d208/24/120922OZ25 Page21 Of 26

is not reasonably calculated to lead to the discovery of admissible evidence The amount-of Ms.
Polanco’s economic damages is not relevant to the legal issues in this action

lnterrogatory No. 18: State the date you returned to work at each place of employment
following the lNCIDENT.

Response: Objection. Defendant’s request is unclear.because its definition of “Incident”
is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Plaintiff further objects on the ground that this lnterrogatory
is not reasonably calculated to lead to the discovery of admissible evidence .The. amount of Ms.
Polanco’s economic damages is not relevant to the legal issues in this action

lnterrogatory No. 19: State the dates you did not Work and for which you lost income

Response: Objection. This lnterrogatory is not reasonably calculated to lead to the

 

discovery of admissible evidence The amount of Ms. Polanco’s economic damages is not
relevant to the legal issues in this action Plaintiff further objects onthe ground that this
lnterrogatory is overbroad and unduly burdensome as the request is not restricted by time period

Interrogatog No. 20: State the total income you have lost to date as a result of the
INCIDENT and how the amount was calculated

Response: Obj ection This lnterrogatory is not reasonably calculated to lead to the
discovery of admissible evidence The amount of l\/ls. Polanco’s economic damages is not
relevant to the legal issues in this action '

lnterrogatory No. 21`: `Will you lose income in the future as a result of the INCIDENT?
If so, state: ‘

(a) the facts upon which you base this'contention;

(b) an estimate of the amount;

 

CaSe:l2-OlOlO-I\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 Page22 Of 26

(c) an estimate of how long you will be unable to work;.
(d) how the claim for future income is calculated l
` Response: Objection. Defendant’s request is unclear because its definition of “Incident”

is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Plaintiff further objects on the ground that this lnterrogatory
is not reasonably calculated to lead to the discovery of admissible evidence The amount of Ms.
Polanco’s economic damages is not relevant to the legal issues in this action ln addition, this
lnterrogatory is overly broad and unduly burdensome as Ms. Polanco is unable to assess the
precise amount of her lost future income k k

Interrogato§v_ No. 22: Are there any other damages that you attribute to the
lNCIDENT? If so, for each item of damage state:

(a) the nature;

l (b) the date it occurred;

(c) the amount

Response: Objection. Defendant’s request is unclear because its definition of “Incident”
is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Notwithstanding, and without waiving the foregoing
objection, Plaintiff states as follows: No. Ms. Polanco has suffered damages from lost income
and severe emotional distress which are identified in the foregoing lnterrogatories and Plaintiffs
lnitial Disclosures.

lnterrogatory No. 232 List all physical, mental, and emotional disabilities you had
immediately before the INCIDENT. (You may omit mental or emotional disabilities unless you

attribute any mental or emotional injury to the INCIDENT.)

 

 

CaSe:l2-OlOlO-I\/|ER DOC#233 Filed208/23/12 Entered208/24/12 09220225 Page23 Of 26

Response: Objection. Defendantis request is unclear because its definition of “lncident”
_is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Plaintiff further objects on the ground that this lnterrogatory
requests information protected by the physician-patient privilege Notwithstanding, and without
waiving the foregoing objection Ms. Polanco did not suffer from any disability prior to the

lncident.

   

Interrogatog No. 24: At any time after the lNClDENT,drd you sustain injuries of the
kind for Which you are now claiming damages If so, for each incident state

(a) the date and the place it occurred;

(b) the name ADDRESS , and telephone number of any other PERSON involved;

(c) the nature of any injuries you sustained;

(d) the name, ADDRESS , and telephone number of each HEALTH CARE
PROVIDER that you consulted or who examined or treated you;

(e) the nature of the treatment and its duration

Response: Objection. Defendant’s request is unclear because its definition of “Incident”
is vague Multiple “incident(s)” have been alleged in this matter, and it is unclear which one
Defendant refers to in this instance Notwithstanding, and without Waiving the foregoing
objection, Plaintiff states as follows: No.

lnterrogatory No. 252 Except for this action, in the last ten years have you filed an
action or made a written claim or demand for compensation for personal inj uries? If so, for each
action, claim, or demand state

(a) the date, time and place and location of the INCIDENT (closest street ADDRESS

or intersection);

 

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Page240f 26

(b) the name, ADDRESS , and telephone number of each PERSON against whom the
claim was made or action filed;

(c) the court, names of the parties and case number of any action filed;

(d) the name, ADDRESS , and telephone number of any attorney representing you;

(e) whether the claim or action has been resolved or is pending.

Response: No.

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Page25 Of 26

vERlFICATroN

l, Tasheena Polanco, Plainti ff in the above-captioned matter, verify that l have read the
above Plaintiffs Responses to Defendant’s First Set of lnterrogatories and that they are true and
correct to the best of my knowledge and belief.

s/Tasheena Polanco
Tasheena Polanco

DATED this 9th day of August, 2012.
AS TO OBJECTIONS:
TRAYLoR LAW GRoUP, LLC

s/Whiiney C. Traylor
Whitney C. Traylor

Crai g T. Truitt

1 721 High St.

Denver, CO 80218
Telephone: 303-321-1862
Facsimile: 303-837-1214

ATTORNEYS FOR PLAINTIFF-

 

 

CaSe:l2-OlOlO-|\/|ER DOC#233 Filed208/23/12 Entered208/24/120922OZ25 Page26 Of 26

CERTIFICATE OF SERVICE

1 hereby certify that a true and correct copy of the foregoing PLAINTIFF’S
RESPONSES TO DEFENDANT’S FIRST SET OF IN'I`ERROGATORIES WaS Served on
this 9th day of August, 2012, via United States Mail addressed to the following:

Manuel Solano, Esq.

12000 N. Washington Street Ste 310
Thornton, CO 80241

s/Whitnev C. Travlor

 

